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10   Attorneys for Defendant
     Bruce Perens
11
                                UNITED STATES DISTRICT COURT
12
                               NORTHERN DISTRICT OF CALIFORNIA
13
                                        SAN FRANCISCO DIVISION
14

15
     OPEN SOURCE SECURITY, INC., and                 Case No. 3:17-cv-04002-LB
16   BRADLEY SPENGLER,
                                                     DEFENDANT’S NOTICE OF
17                        Plaintiffs,                WITHDRAWAL OF MOTION TO
                                                     DISMISS AND SPECIAL MOTION TO
18          v.                                       STRIKE AS MOOT PURSUANT TO
                                                     CIVIL L.R. 7-7
19   BRUCE PERENS, and Does 1-50,
20                        Defendants.
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                                                                     DEFENDANT’S NOTICE OF
                                                            WITHDRAWAL OF MOTIONS AS MOOT
                                                                    CASE NO. 3:17-CV-04002-LB
         Case 3:17-cv-04002-LB Document 21 Filed 10/10/17 Page 2 of 3



 1                       NOTICE OF WITHDRAWAL OF MOTIONS AS MOOT

 2            PLEASE TAKE NOTICE THAT Defendant Bruce Perens hereby withdraws as moot his
 3   Motion to Dismiss with Prejudice Pursuant to Fed. R. Civ. P. 12(b)(6) and Special Motion to
 4   Strike Pursuant to the California Anti-SLAPP Statute, Code of Civil Procedure Section 425.16,
 5   filed on September 18, 2017 in the above-captioned action and set for hearing on October 26,
 6   2017 at 9:30 a.m.
 7            Mr. Perens files this notice solely because Mr. Perens understands that under caselaw, Mr.
 8   Perens’s motions are considered procedurally mooted by Plaintiffs’ October 2, 2017 filing of a
 9   First Amended Complaint, which supersedes the original complaint that is the subject of Mr.
10   Perens’s motions. However, Mr. Perens maintains that the original complaint fails to state a
11   claim and improperly seeks to impose liability based on conduct protected by the California anti-
12   SLAPP statute, and that the First Amended Complaint likewise fails to state a claim and
13   improperly seeks to impose liability based on conduct protected by the California anti-SLAPP
14   statute. Mr. Perens therefore will again move to dismiss Plaintiffs’ claims and to strike them
15   under the anti-SLAPP statute. Should the Court grant Mr. Perens’s special motion to strike, Mr.
16   Perens intends to seek all attorneys’ fees recoverable under the anti-SLAPP statute and otherwise,
17   including all fees incurred preparing his original motions, as part of the calculation of the
18   mandatory attorneys’ fees award guaranteed to Mr. Perens by the anti-SLAPP statute. See
19   Mireskandari v. Daily Mail & Gen. Tr. PLC, No. CV 12-02943 MMM (FFMx), 2014 WL
20   12586434, at *9 (C.D. Cal. Nov. 7, 2014), aff’d sub nom. Mireskandari v. Assoc’d Newspapers,
21   Ltd., 665 F. App’x 570 (9th Cir. 2016); Graham-Sult v. Clainos, 756 F.3d 724, 752 (9th Cir.
22   2014).
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                                                                             DEFENDANT’S NOTICE OF
                                                       2            WITHDRAWAL OF MOTIONS AS MOOT
                                                                            CASE NO. 3:17-CV-04002-LB
        Case 3:17-cv-04002-LB Document 21 Filed 10/10/17 Page 3 of 3



 1   Dated:   October 10, 2017
 2                                             MELODY DRUMMOND HANSEN
                                               HEATHER J. MEEKER
 3                                             CARA L. GAGLIANO
                                               O’MELVENY & MYERS LLP
 4

 5
                                               By:    /s/ Melody Drummond Hansen
 6                                                      Melody Drummond Hansen

 7                                             Attorneys for Defendant
                                               Bruce Perens
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                                                                 DEFENDANT’S NOTICE OF
                                           3            WITHDRAWAL OF MOTIONS AS MOOT
                                                                CASE NO. 3:17-CV-04002-LB
